       Case 1:21-mc-00255-CCB Document 10 Filed 08/16/21 Page 1 of 2



                 IN THE UNITED STATES DISTICT COURT
                    FOR THE DISTRICT OF MARYLAND
                            CIVIL DIVISION


                                   )
Vertrica Navigation Co.            )
                                   )
                                   )
Plaintiff                          )
                                   )
                                   )
                                   )
vs.                                ) CIVIL ACTION NO: 21-mc-255
                                   )
Shebah Exploration & Production    )
                                   )
Company, Ltd, and Salvic Petroleum )
                                   )
Resources Ltd.                     )
                                   )
    Defendant(s)                   )
                                   )
                                   )
                                   )
      Response to Writ of Garnishment of Property Other Than Wages

Garnishees Ambrosie Bryant Chukwueloka Orjiako by and through counsel,

Damani K. Ingram, Esq. and The Ingram Firm, LLC files this Answer to Writ of

Garnishment issued by Vetrica Navigation Co. against Judgment/Debtor Shebah

Exploration & Production Company Ltd.(“Shebah”) and states as follows:

   1. This action stems from a January 6, 2020, judgment and Order from the High

      Court of Justice, Queens Bench Division, London against Shebah.

   2. Garnishee denies that he is indebted to the Judgment Debtor Shebah.

   3. Garnishee is an individual and has no property belonging to Shebah.

   4. Garnishee denies that any of his personal assets or real estate assets belong

      to Shebah or are in anyway subject to Garnishment.
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                                            Respectfully submitted,

                                            THE INGRAM FIRM, LLC



                                             _______________________________
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                                            e-mail: dkingram@ingfirm.com
                                            Attorney for Garnishee




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 16th day of August, 2021 copies of the

foregoing Response to Writ of Garnishment, was served via electronically/ECF to

via electronically/ECF to J. Stephen Simms, Esq., Simms Showers, LLP, 20

International Circle, Suite 250, Baltimore, MD 21030 , jsimms@simmsshowers.com.



____________________________________
Damani K. Ingram, Esq.
